                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                  MISCELLANEOUS NO. 3:07-MC-47
                                          (Doc. No. 4)


 IN RE:                                                   )
                                                          )
 STANDING ORDER ON PROTOCOL                               )
 FOR DISCOVERY OF                                         )
 ELECTRONICALLY STORED                                    )
 INFORMATION IN CIVIL CASES                               )
 BEFORE THE HONORABLE                                     )
 FRANK D. WHITNEY                                         )
                                                          )

         1. On December 1, 2006, amendments to Fed.R.Civ.P. 16, 26, 33, 34, 37, and 45, and

Form 35, became effective, creating a comprehensive set of rules governing discovery of

electronically stored information, (“ESI”).

         Given these rule changes, it is advisable to establish a protocol regarding, and a basic

format implementing, only those portions of the amendments that refer to ESI. The purpose of

this Standing Order on the Protocol for Discovery of Electronically Stored Information (the

“Protocol”) is to facilitate the just, speedy, and inexpensive conduct of discovery involving ESI

in civil cases, and to promote, whenever possible, the resolution of disputes regarding the

discovery of ESI without Court intervention.

         While this Protocol is intended to provide the parties with a comprehensive framework to

address and resolve a wide range of ESI issues, it is not intended to be an inflexible checklist.

The Court expects that the parties will consider the nature of the claim, the amount in



         1
            The Protocol is modeled after the “Suggested Protocol for Discovery of Electronically Stored Information”
as set forth by the United States District Court for the District of Maryland. The full document may be found at
http://www.mdd.uscourts.gov/new/new/ESIProtocol.pdf.




             Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 1 of 27
controversy, agreements of the parties, the relative ability of the parties to conduct discovery of

ESI, and such other factors as may be relevant under the circumstances. Therefore not all aspects

of this Protocol may be applicable or practical for a particular matter, and indeed, if the parties do

not intend to seek discovery of ESI it may be entirely inapplicable to a particular case. The Court

encourages the parties to use this Protocol in cases in which there will be discovery of ESI, and

to resolve ESI issues informally and without Court supervision whenever possible. In this

regard, compliance with this Protocol may be considered by the Court in resolving discovery

disputes, including whether sanctions should be awarded pursuant to Fed.R.Civ.P. 37;



                                              SCOPE

       2. This Protocol applies to the ESI provisions of Fed.R.Civ.P. 16, 26, 33, 34, or 37, and,

insofar as it relates to ESI, this Protocol applies to Fed.R.Civ.P. 45 in all instances where the

provisions of Fed.R.Civ.P. 45 are the same as, or substantially similar to, Fed.R.Civ.P. 16, 26, 33,

34, or 37. In such circumstances, if a Conference pursuant to Fed.R.Civ.P. 26(f) is held, it may

include all parties, as well as the person or entity served with the subpoena, if said Conference has

not yet been conducted. If the Conference has been conducted, upon written request of any party or

the person or entity served with the subpoena, a similar conference may be conducted regarding

production of ESI pursuant to the subpoena. As used herein, the words “party” or “parties” include

any person or entity that is served with a subpoena pursuant to Fed.R.Civ.P. 45. Nothing contained

herein modifies Fed.R.Civ.P. 45 and, specifically, the provision of Rule 45(c)(2)(B) regarding the

effect of a written objection to inspection or copying of any or all of the designated materials or

premises.


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         Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 2 of 27
       3.      In this Protocol, the following terms have the following meanings:

               A.     “Meta-Data” means: (i) information embedded in a Native File that is not

                      ordinarily viewable or printable from the application that generated, edited,

                      or modified such Native File; and (ii) information generated automatically by

                      the operation of a computer or other information technology system when a

                      Native File is created, modified, transmitted, deleted or otherwise

                      manipulated by a user of such system. Meta-Data is a subset of ESI.

               B.     “Native File(s)” means ESI in the electronic format of the application in

                      which such ESI is normally created, viewed and/or modified. Native Files

                      are a subset of ESI.

               C.     “Static Image(s)” means a representation of ESI produced by converting a

                      Native File into a standard image format capable of being viewed and printed

                      on standard computer systems. In the absence of agreement of the parties or

                      order of Court, a Static Image should be provided in either Tagged Image File

                      Format (TIFF, or .TIF files) or Portable Document Format (PDF). If load

                      files were created in the process of converting Native Files to Static Images,

                      or if load files may be created without undue burden or cost, load files should

                      be produced together with Static Images.

                       CONFERENCE OF PARTIES AND REPORT

       4.      The parties are encouraged to consider conducting a Conference of Parties to discuss

discovery of ESI regardless of whether such a Conference is ordered by the Court. The Conference

of Parties should be conducted in person whenever practicable. Within 10 calendar days thereafter,


                                                3


         Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 3 of 27
the parties may wish to file, or the Court may order them to file, a joint report regarding the results

of the Conference.    This process is also encouraged if applicable, in connection with a subpoena

for ESI under Fed.R.Civ.P. 45. The report may state that the parties do not desire discovery of ESI,

in which event Paragraphs 4A and B are inapplicable.

               A.      The report should, without limitation, state in the section captioned

                       “Disclosure or discovery of electronically stored information should be

                       handled as follows,” the following:

                       (1)     Any areas on which the parties have reached agreement and, if any,

                               on which the parties request Court approval of that agreement;

                       (2)     Any areas on which the parties are in disagreement and request

                               intervention of the Court.

               B.      The report should, without limitation, if it proposes a “clawback” agreement,

                       “quick peek,” or testing or sampling, specify the proposed treatment of

                       privileged information and work product, in a manner that, if applicable,

                       complies with the standard set forth in Hopson v. Mayor and City Council of

                       Baltimore, 232 F.R.D. 228 (D.Md. 2005), and other applicable authority.

                       On-site inspections of ESI under Fed.R.Civ.P. 34(b) should only be permitted

                       in circumstances where good cause and specific need have been demonstrated

                       by the party seeking disclosure of ESI (the “Requesting Party”), or by

                       agreement of the parties. In appropriate circumstances the Court may

                       condition on-site inspections of ESI to be performed by independent third

                       party experts, or set such other conditions as are agreed by the parties or


                                                  4


         Case 3:07-mc-00047-FDW             Document 4       Filed 05/14/07      Page 4 of 27
                       deemed appropriate by the Court.

               C.      Unless otherwise agreed by the parties, the report described by this provision

                       should be filed with the Court prior to the commencement of discovery of

                       ESI.

                                NEED FOR PRIOR PLANNING

       5.      Insofar as it relates to ESI, prior planning and preparation is essential for a Conference

of Parties pursuant to Fed.R.Civ.P. 16, 26(f), and this Protocol. Counsel for the Requesting Party

and Counsel for the party producing, opposing, or seeking to limit disclosure of ESI (“Producing

Party”) bear the primary responsibility for taking the planning actions contained herein. Failure to

reasonably comply with the planning requirements in good faith may be a factor considered by the

Court in imposing sanctions.

         EXCHANGE OF INFORMATION BEFORE RULE 26(f) CONFERENCE

       6.      Insofar as it relates to ESI, in order to have a meaningful Conference of Parties, it may

be necessary for parties to exchange information prior to the Fed.R.Civ.P. 26(f) Conference of

Parties. Parties are encouraged to take the steps described in ¶7 of this Protocol and agree on a date

that is prior to the Fed.R.Civ.P. 26(f) Conference of Parties, on which agreed date they will discuss

by telephone whether it is necessary or convenient to exchange information about ESI prior to the

conference.

               A.      A reasonable request for prior exchange of information may include

                       information relating to network design, the types of databases, database

                       dictionaries, the access control list and security access logs and rights of

                       individuals to access the system and specific files and applications, the ESI


                                                   5


         Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 5 of 27
          document retention policy, organizational chart for information systems

          personnel, or the backup and systems recovery routines, including, but not

          limited to, tape rotation and destruction/overwrite policy.

    B.    An unreasonable request for a prior exchange of information should not be

          made.

    C.    A reasonable request for a prior exchange of information should not be

          denied.

    D.    To the extent practicable, the parties should, prior to the Fed.R.Civ.P. 26(f)

          Conference of Parties, discuss the scope of discovery of ESI, including

          whether the time parameters of discoverable ESI, or for subsets of ESI, may

          be narrower than the parameters for other discovery.

    E.    Prior to the Fed.R.Civ.P. 26(f) Conference of Parties, Counsel should discuss

          with their clients and each other who will participate in the Fed.R.Civ.P.

          26(f) Conference of Parties. This discussion should specifically include

          whether one or more participants should have an ESI coordinator (see

          Paragraph 7.B) participate in the Conference. If one participant believes that

          the other should have an ESI coordinator participate, and the other disagrees,

          the Requesting Party should state its reasons in a writing sent to all other

          parties within a reasonable time before the Rule 26(f) Conference. If the

          Court subsequently determines that the Conference was not productive due

          to the absence of an ESI coordinator, it may consider the letter in conjunction

          with any request for sanctions under Fed.R.Civ.P. 37.


                                    6


Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 6 of 27
           PREPARATION FOR RULE 26(f) CONFERENCE

7.   Prior to the Fed.R.Civ.P. 26(f) Conference of Parties, Counsel for the parties should:

     A.     Take such steps as are necessary to advise their respective clients, including,

            but not limited to, “key persons” with respect to the facts underlying the

            litigation, and information systems personnel, of the substantive principles

            governing the preservation of relevant or discoverable ESI while the lawsuit

            is pending. As a general principle to guide the discussion regarding litigation

            hold policies, Counsel should consider the following criteria:

            (1)     Scope of the “litigation hold,” including:

                    (a)     A determination of the categories of potentially discoverable

                            information to be segregated and preserved;

                    (b)     Discussion of the nature of issues in the case, as per

                            Fed.R.Civ.P. 26(b)(1);

                            (i)     Whether ESI is relevant to only some or all claims and

                                    defenses in the litigation;

                            (ii)    Whether ESI is relevant to the subject matter involved

                                    in the action;

                    (c)     Identification of “key persons,” and likely witnesses and

                            persons with knowledge regarding relevant events;

                    (d)     The relevant time period for the litigation hold;

            (2)     Analysis of what needs to be preserved, including:

                    (a)     The nature of specific types of ESI, including, email and


                                       7


 Case 3:07-mc-00047-FDW            Document 4        Filed 05/14/07    Page 7 of 27
                       attachments, word processing documents, spreadsheets,

                       graphics and presentation documents, images, text files, hard

                       drives, databases, instant messages, transaction logs, audio

                       and video files, voicemail, Internet data, computer logs, text

                       messages, or backup materials, and Native Files, and how it

                       should be preserved:

                (b)    the extent to which Meta-Data, deleted data, or fragmented

                       data, will be subject to litigation hold;

                (c)    paper documents that are exact duplicates of ESI;

                (d)    any preservation of ESI that has been deleted but not purged;

          (3)   Determination of where ESI subject to the litigation hold is

                maintained, including:

                (a)    format, location, structure, and accessibility of active storage,

                       backup, and archives;

                       (i)     servers;

                       (ii)    computer systems, including legacy systems;

                       (iii)   remote and third-party locations;

                       (iv)    back-up media (for disasters) vs. back-up media for

                               archival purposes/record retention laws;

                (b)    network, intranet, and shared areas (public folders, discussion

                       databases, departmental drives, and shared network folders);

                (c)    desktop computers and workstations;


                                  8


Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 8 of 27
               (d)     portable media; laptops; personal computers; PDA's; paging

                       devices; mobile telephones; and flash drives;

               (e)     tapes, discs, drives, cartridges and other storage media;

               (f)     home computers (to the extent, if any, they are used for

                       business purposes);

               (g)     paper documents that represent ESI.

         (4)   Distribution of the notification of the litigation hold:

               (a)     to parties and potential witnesses;

               (b)     to persons with records that are potentially discoverable;

               (c)     to persons with control over discoverable information;

                       including:

                       (i)       IT personnel/director of network services;

                       (ii)      custodian of records;

                       (iii)     key administrative assistants;

               (d)     third parties (contractors and vendors who provide IT

                       services).

         (5)   Instructions to be contained in a litigation hold notice, including that:

               (a)     there will be no deletion, modification, alteration of ESI

                       subject to the litigation hold;

               (b)     the recipient should advise whether specific categories of ESI

                       subject to the litigation hold require particular actions (e.g.,

                       printing paper copies of email and attachments) or transfer


                                    9


Case 3:07-mc-00047-FDW         Document 4     Filed 05/14/07      Page 9 of 27
                       into “read only” media;

                (c)    loading of new software that materially impacts ESI subject

                       to the hold may occur only upon prior written approval from

                       designated personnel;

                (d)    where Meta-Data, or data that has been deleted but not

                       purged, is to be preserved, either a method to preserve such

                       data before running compression, disk defragmentation or

                       other computer optimization or automated maintenance

                       programs or scripts of any kind (“File and System

                       Maintenance Procedures”), or the termination of all File and

                       System Maintenance Procedures during the pendency of the

                       litigation hold in respect of Native Files subject to

                       preservation;

                (e)    reasonably safeguarding and preserving all portable or

                       removable electronic storage media containing potentially

                       relevant ESI;

                (f)    maintaining hardware that has been removed from active

                       production, if such hardware contains legacy systems with

                       relevant ESI and there is no reasonably available alternative

                       that preserves access to the Native Files on such hardware.

          (6)   Monitoring compliance with the notification of litigation hold,

                including:


                                 10


Case 3:07-mc-00047-FDW       Document 4        Filed 05/14/07      Page 10 of 27
                  (a)     identifying contact person who will address questions

                          regarding preservation duties;

                  (b)     identifying personnel with responsibility to confirm that

                          compliance requirements are met;

                  (c)     determining whether data of "key persons" requires special

                          handling (e.g., imaging/cloning hard drives);

                  (d)     periodic checks of logs or memoranda detailing compliance;

                  (e)     issuance of periodic reminders that the litigation hold is still

                          in effect.

     B.    Identify one or more information technology or information systems

           personnel to act as the ESI coordinator and discuss ESI with that person;

     C.    Identify those personnel who may be considered “key persons” by the events

           placed in issue by the lawsuit and determine their ESI practices, including

           those matters set forth in Paragraph 7.D, below. The term “key persons” is

           intended to refer to both the natural person or persons who is/are a “key

           person(s)” with regard to the facts that underlie the litigation, and any

           applicable clerical or support personnel who directly prepare, store, or modify

           ESI for that key person or persons, including, but not limited to, the network

           administrator, custodian of records or records management personnel, and an

           administrative assistant or personal secretary;




                                       11


Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 11 of 27
                  D.       Become reasonably familiar2 with their respective clients’ current and

                           relevant past ESI, if any, or alternatively, identify a person who can

                           participate in the Fed.R.Civ.P. 26(f) Conference of Parties and who is

                           familiar with at least the following:

                           (1)      Email systems; blogs; instant messaging; Short Message Service

                                    (SMS) systems; word processing systems; spreadsheet and database

                                    systems; system history files, cache files, and cookies; graphics,

                                    animation, or document presentation systems; calendar systems; voice

                                    mail systems, including specifically, whether such systems include

                                    ESI; data files; program files; internet systems; and, intranet systems.

                                    This Protocol may include information concerning the specific

                                    version of software programs and may include information stored on

                                    electronic bulletin boards, regardless of whether they are maintained

                                    by the party, authorized by the party, or officially sponsored by the

                                    party; provided however, this Protocol extends only to the

                                    information to the extent such information is in the possession,

                                    custody, or control of such party. To the extent reasonably possible,

                                    this includes the database program used over the relevant time, its

                                    database dictionary, and the manner in which such program records



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            As used herein, the term “reasonably familiar” contemplates a heightened level of familiarity with any ESI
that is identified by opposing counsel pursuant to Paragraph 6 of this Protocol, however, that level of familiarity is
conditioned upon the nature of the pleadings, the circumstances of the case, and the factors contained in Fed.R.Civ.P.
26(b)(2)(C).

                                                         12


             Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 12 of 27
                 transactional history in respect to deleted records.

           (2)   Storage systems, including whether ESI is stored on servers,

                 individual hard drives, home computers, “laptop” or “notebook”

                 computers, personal digital assistants, pagers, mobile telephones, or

                 removable/portable storage devices, such as CD-Roms, DVDs,

                 “floppy” disks, zip drives, tape drives, external hard drives, flash,

                 thumb or “key” drives, or external service providers.

           (3)   Back up and archival systems, including those that are onsite, offsite,

                 or maintained using one or more third-party vendors. This Protocol

                 may include a reasonable inquiry into the back-up routine,

                 application, and process and location of storage media, and requires

                 inquiry into whether ESI is reasonably accessible without undue

                 burden or cost, whether it is compressed, encrypted, and the type of

                 device on which it is recorded (e.g., whether it uses sequential or

                 random access), and whether software that is capable of rendering it

                 into usable form without undue expense is within the client’s

                 possession, custody, or control.

           (4)   Obsolete or “legacy” systems containing ESI and the extent, if any,

                 to which such ESI was copied or transferred to new or replacement

                 systems.

           (5)   Current and historical website information, including any potentially

                 relevant or discoverable statements contained on that or those site(s),


                                   13


Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 13 of 27
                 as well as systems to back up, archive, store, or retain superseded,

                 deleted, or removed web pages, and policies regarding allowing third

                 parties’ sites to archive client website data.

          (6)    Event data records automatically created by the operation, usage, or

                 polling of software or hardware (such as recorded by a motor

                 vehicle’s GPS or other internal computer prior to an occurrence), if

                 any and if applicable, in automobiles, trucks, aircraft, vessels, or other

                 vehicles or equipment.

          (7)    Communication systems, if any and if applicable, such as ESI records

                 of radio transmissions, telephones, personal digital assistants, or GPS

                 systems.

          (8)    ESI erasure, modification, or recovery mechanisms, such as Meta-

                 Data scrubbers or programs that repeatedly overwrite portions of

                 storage media in order to preclude data recovery, and policies

                 regarding the use of such processes and software, as well as recovery

                 programs that can defeat scrubbing, thereby recovering deleted, but

                 inadvertently produced ESI which, in some cases, may even include

                 privileged information.

          (9)    Policies regarding records management, including the retention or

                 destruction of ESI prior to the client receiving knowledge that a claim

                 is reasonably anticipated.

          (10)   “Litigation hold” policies that are instituted when a claim is


                                    14


Case 3:07-mc-00047-FDW          Document 4           Filed 05/14/07         Page 14 of 27
                                reasonably anticipated, including all such policies that have been

                                instituted, and the date on which they were instituted.

                         (11)   The identity of custodians of key ESI, including “key persons” and

                                related staff members, and the information technology or information

                                systems personnel, vendors, or subcontractors who are best able to

                                describe the client’s information technology system.

                         (12)   The identity of vendors or subcontractors who store ESI for, or

                                provide services or applications to, the client or a key person; the

                                nature, amount, and a description of the ESI stored by those vendors

                                or subcontractors; contractual or other agreements that permit the

                                client to impose a “litigation hold” on such ESI; whether or not such

                                a “litigation hold” has been placed on such ESI; and, if not, why not.

              E.         Negotiation of an agreement that outlines what steps each party will take to

                         segregate and preserve the integrity of relevant or discoverable ESI. This

                         agreement may provide for depositions of information system personnel on

                         issues related to preservation, steps taken to ensure that ESI is not deleted in

                         the ordinary course of business, steps taken to avoid alteration of

                         discoverable ESI, and criteria regarding the operation of spam or virus filters

                         and the destruction of filtered ESI.

                   TOPICS TO DISCUSS AT RULE 26(f) CONFERENCE

       8.     The following topics, if applicable, should be discussed at the Fed.R.Civ.P. 26(f)

Conference of Parties:


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        Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 15 of 27
     A.    The anticipated scope of requests for, and objections to, production of ESI,

           as well as the form of production of ESI and, specifically, but without

           limitation, whether production will be of the Native File, Static Image, or

           other searchable or non-searchable formats.

           (1)    If the parties are unable to reach agreement on the format for

                  production, ESI should be produced to the Requesting Party as Static

                  Images. When the Static Image is produced, the Producing Party

                  should maintain a separate file as a Native File and, in that separate

                  file, it should not modify the Native File in a manner that materially

                  changes the file and the Meta-Data. After initial production in Static

                  Images is complete, a party seeking production of Native File ESI

                  should demonstrate particularized need for that production.

           (2)    The parties should discuss whether production of some or all ESI in

                  paper format is agreeable in lieu of production in electronic format.

           (3)    When parties have agreed or the Court has ordered the parties to

                  exchange all or some documents as electronic files in Native File

                  format in connection with discovery, the parties should collect and

                  produce said relevant files in Native File formats in a manner that

                  preserves the integrity of the files, including, but not limited to, the

                  contents of the file, the Meta-Data (including System Meta-Data,

                  Substantive Meta-Data, and Embedded Meta-Data, as more fully

                  described in Paragraph 11 of this Protocol) related to the file, and the


                                    16


Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 16 of 27
                                   file’s creation date and time. The general process to preserve the data

                                   integrity of a file may include one or more of the following

                                   procedures: (a) duplication of responsive files in the file system (i.e.,

                                   creating a forensic copy, including a bit image copy, of the file system

                                   or pertinent portion), (b) performing a routine copy of the files while

                                   preserving Meta-Data (including, but not limited to, creation date and

                                   time), and/or (c) using reasonable measures to prevent a file from

                                   being, or indicate that a file has been, modified, either intentionally

                                   or unintentionally, since the collection or production date of the files.

                                   If any party desires to redact contents of a Native File for privilege,

                                   trade secret, or other purposes (including, but not limited to, Meta-

                                   Data), then the Producing Party should indicate that the file has been

                                   redacted, and an original, unmodified file should be retained at least

                                   during the pendency of the case.

                 B.       Whether Meta-Data is requested for some or all ESI and, if so, the volume

                          and costs of producing and reviewing said ESI.

                 C        Preservation of ESI during the pendency of the lawsuit, specifically, but

                          without limitation, applicability of the “safe harbor” provision of

                          Fed.R.Civ.P. 37, preservation of Meta-Data, preservation of deleted ESI,

                          back up or archival ESI, ESI contained in dynamic systems3, ESI destroyed



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           A “dynamic system” is a system that remains in use during the pendency of the litigation and in which ESI
changes on a routine and regular basis, including the automatic deletion or overwriting of such ESI.

                                                        17


            Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 17 of 27
          or overwritten by the routine operation of systems, and, offsite and offline

          ESI (including ESI stored on home or personal computers). This discussion

          should include whether the parties can agree on methods of review of ESI by

          the responding party in a manner that does not unacceptably change Meta-

          Data.

          (1)     If Counsel are able to agree, the terms of an agreed-upon preservation

                  order may be submitted to the Court;

          (2)     If Counsel are unable to agree, they should attempt to reach

                  agreement on the manner in which each party should submit a

                  narrowly tailored, proposed preservation order to the Court for its

                  consideration.

     D.   Post-production assertion, and preservation or waiver of, the attorney-client

          privilege, work product doctrine, and/or other privileges in light of

          “clawback,” “quick peek,” or testing or sampling procedures, and submission

          of a proposed order pursuant to the holding of Hopson v. Mayor and City

          Council of Baltimore, 232 F.R.D. 228 (D.Md. 2005), and other applicable

          precedent. If Meta-Data is to be produced, Counsel may agree, and should

          discuss any agreement, that Meta-Data not be reviewed by the recipient and

          the terms of submission of a proposed order encompassing that agreement to

          the Court. Counsel should also discuss procedures under which ESI that

          contains privileged information or attorney work product should be

          immediately returned to the Producing Party if the ESI appears on its face to


                                    18


Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 18 of 27
          have been inadvertently produced or if there is prompt written notice of

          inadvertent production by the Producing Party. The Producing Party should

          maintain unaltered copies of all such returned materials under the control of

          Counsel of record. This provision is procedural and return of materials

          pursuant to this Protocol is without prejudice to any substantive right to

          assert, or oppose, waiver of any protection against disclosure.

    E.    Identification of ESI that is or is not reasonably accessible without undue

          burden or cost, specifically, and without limitation, the identity of such

          sources and the reasons for a contention that the ESI is or is not reasonably

          accessible without undue burden or cost, the methods of storing and

          retrieving that ESI, and the anticipated costs and efforts involved in retrieving

          that ESI. The party asserting that ESI is not reasonably accessible without

          undue burden or cost should be prepared to discuss in reasonable detail, the

          information described in Paragraph 10 of this Protocol.

    F.    Because identifying information may not be placed on ESI as easily as bates-

          stamping paper documents, methods of identifying pages or segments of ESI

          produced in discovery should be discussed, and, specifically, and without

          limitation, the following alternatives may be considered by the parties:

          electronically paginating Native File ESI pursuant to a stipulated agreement

          that the alteration does not affect admissibility; renaming Native Files using

          bates-type numbering systems, e.g., ABC0001, ABC0002, ABC0003, with

          some method of referring to unnumbered “pages” within each file; using


                                    19


Case 3:07-mc-00047-FDW        Document 4        Filed 05/14/07      Page 19 of 27
          software that produces “hash marks” or “hash values” for each Native File;

          placing pagination on Static Images; or any other practicable method. The

          parties are encouraged to discuss the use of a digital notary for producing

          Native Files.

    G.    The method and manner of redacting information from ESI if only part of the

          ESI is discoverable. As set forth in Paragraph 11.D, if Meta-Data is redacted

          from a file, written notice of such redaction, and the scope of that redaction,

          should be provided.

    H.    The nature of information systems used by the party or person or entity

          served with a subpoena requesting ESI, including those systems described in

          Paragraph 7.D above. This Protocol may suggest that Counsel be prepared

          to list the types of information systems used by the client and the varying

          accessibility, if any, of each system. It may suggest that Counsel be prepared

          to identify the ESI custodians, for example, by name, title, and job

          responsibility. It also may suggest that, unless impracticable, Counsel be able

          to identify the software (including the version) used in the ordinary course of

          business to access the ESI, and the file formats of such ESI.

    I.    Specific facts related to the costs and burdens of preservation, retrieval, and

          use of ESI.

    J.    Cost sharing for the preservation, retrieval and/or production of ESI,

          including any discovery database, differentiating between ESI that is

          reasonably accessible and ESI that is not reasonably accessible; provided


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Case 3:07-mc-00047-FDW        Document 4       Filed 05/14/07      Page 20 of 27
           however that absent a contrary showing of good cause, e.g., Fed.R.Civ.P.

           26(b)(2)(C), the parties should generally presume that the Producing Party

           bears all costs as to reasonably accessible ESI and, provided further, the

           parties should generally presume that there will be cost sharing or cost

           shifting as to ESI that is not reasonably accessible. The parties may choose

           to discuss the use of an Application Service Provider that is capable of

           establishing a central respository of ESI for all parties.

     K.    Search methodologies for retrieving or reviewing ESI such as identification

           of the systems to be searched; identification of systems that will not be

           searched; restrictions or limitations on the search; factors that limit the ability

           to search; the use of key word searches, with an agreement on the words or

           terms to be searched; using sampling to search rather than searching all of

           the records; limitations on the time frame of ESI to be searched; limitations

           on the fields or document types to be searched; limitations regarding whether

           back up, archival, legacy or deleted ESI is to be searched; the number of

           hours that must be expended by the searching party or person in conducting

           the search and compiling and reviewing ESI; and the amount of pre-

           production review that is reasonable for the Producing Party to undertake in

           light of the considerations set forth in Fed.R.Civ.P. 26(b)(2)(C).

     L.    Preliminary depositions of information systems personnel, and limits on the

           scope of such depositions. Counsel should specifically consider whether

           limitations on the scope of such depositions should be submitted to the Court


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Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 21 of 27
          with a proposed order that, if entered, would permit Counsel to instruct a

          witness not to answer questions beyond the scope of the limitation, pursuant

          to Fed.R.Civ.P. 30(d)(1).

     M.   The need for two-tier or staged discovery of ESI, considering whether ESI

          initially can be produced in a manner that is more cost-effective, while

          reserving the right to request or to oppose additional more comprehensive

          production in a latter stage or stages. Absent agreement or good cause

          shown, discovery of ESI should proceed in the following sequence: 1) after

          receiving requests for production of ESI, the parties should search their ESI,

          other than that identified as not reasonably accessible without undue burden

          or cost, and produce responsive ESI within the parameters of Fed.R.Civ.P.

          26(b)(2)(C); 2) searches of or for ESI identified as not reasonably accessible

          should not be conducted until the prior step has been completed; and, 3)

          requests for information expected to be found in or among ESI that was

          identified as not reasonably accessible should be narrowly focused, with a

          factual basis supporting each request.

     N.   The need for any protective orders or confidentiality orders, in conformance

          with the Local Rules and substantive principles governing such orders.

     O.   Any request for sampling or testing of ESI; the parameters of such requests;

          the time, manner, scope, and place limitations that will voluntarily or by

          Court order be placed on such processes; the persons to be involved; and the

          dispute resolution mechanism, if any, agreed-upon by the parties.


                                    22


Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 22 of 27
               P.      Any agreement concerning retention of an agreed-upon Court expert, retained

                       at the cost of the parties, to assist in the resolution of technical issues

                       presented by ESI.

                                         PARTICIPANTS

       9.      The following people:

               A       Should, absent good cause, participate in the Fed.R.Civ.P. 26(f) Conference

                       of Parties: lead counsel and at least one representative of each party.

               B.      May participate in the Fed.R.Civ.P. 26(f) Conference of Parties: clients or

                       representatives of clients or the entity served with a subpoena; the designated

                       ESI coordinator for the party; forensic experts; and in-house information

                       system personnel. Identification of an expert for use in a Fed.R.Civ.P. 26(f)

                       Conference of Parties does not, in and of itself, identify that person as an

                       expert whose opinions may be presented at trial within the meaning of

                       Fed.R.Civ.P. 26(b)(4)(A, B).

               C.      If a party is not reasonably prepared for the Fed.R.Civ.P. 26(f) Conference of

                       Parties in accordance with the terms of this Protocol, that factor may be used

                       to support a motion for sanctions by the opposing party for the costs incurred

                       in connection with that Conference.

                                 REASONABLY ACCESSIBLE

       10.     No party should object to the discovery of ESI pursuant to Fed.R.Civ.P. 26(b)(2)(B)

on the basis that it is not reasonably accessible because of undue burden or cost unless the objection

has been stated with particularity, and not in conclusory or boilerplate language. Wherever the term


                                                 23


        Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 23 of 27
“reasonably accessible” is used in this Protocol, the party asserting that ESI is not reasonably

accessible should be prepared to specify facts that support its contention.

                               PRINCIPLES RE: META-DATA

       11.     The production of Meta-Data apart from its Native File may impose substantial costs,

either in the extraction of such Meta-Data from the Native Files, or in its review for purposes of

redacting non-discoverable information contained in such Meta-Data. The persons involved in the

discovery process are expected to be cognizant of those costs in light of the various factors

established in Fed.R.Civ.P. 26(b)(2)(C). The following principles should be utilized in determining

whether Meta-Data may be discovered:

               A.      Meta-Data is part of ESI. Such Meta-Data, however, may not be relevant to

                       the issues presented or, if relevant, not be reasonably subject to discovery

                       given the Rule 26(b)(2)(C) cost-benefit factors. Therefore, it may be subject

                       to cost-shifting under Fed.R.Civ.P. 26(b)(2)(C).

               B.      Meta-Data may generally be viewed as either System Meta-Data, Substantive

                       Meta-Data, or Embedded Meta-Data. System Meta-Data is data that is

                       automatically generated by a computer system. For example, System Meta-

                       Data often includes information such as the author, date and time of creation,

                       and the date a document was modified. Substantive Meta-Data is data that

                       reflects the substantive changes made to the document by the user. For

                       example, it may include the text of actual changes to a document. While no

                       generalization is universally applicable, System Meta-Data is less likely to

                       involve issues of work product and/or privilege.


                                                 24


        Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 24 of 27
     C.   Except as otherwise provided in sub-paragraph E, below, Meta-Data,

          especially substantive Meta-Data, need not be routinely produced, except

          upon agreement of the requesting and producing litigants, or upon a showing

          of good cause in a motion filed by the Requesting Party in accordance with

          the procedures set forth in the Local Rules of this Court. Consideration

          should be given to the production of System Meta-Data and its production is

          encouraged in instances where it will not unnecessarily or unreasonably

          increase costs or burdens. As set forth above, upon agreement of the parties,

          the Court will consider entry of an order approving an agreement that a party

          may produce Meta-Data in Native Files upon the representation of the

          recipient that the recipient will neither access nor review such data. This

          Protocol does not address the substantive issue of the duty to preserve such

          Meta-Data, the authenticity of such Meta-Data, or its admissibility into

          evidence or use in the course of depositions or other discovery.

     D.   If a Producing Party produces ESI without some or all of the Meta-Data that

          was contained in the ESI, the Producing Party should inform all other parties

          of this fact, in writing, at or before the time of production.

     E.    Some Native Files contain, in addition to Substantive Meta-Data and/or

          System Meta-Data, Embedded Meta-Data, which for purposes of this

          Protocol, means the text, numbers, content, data, or other information that is

          directly or indirectly inputted into a Native File by a user and which is not

          typically visible to the user viewing the output display of the Native File on


                                    25


Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 25 of 27
          screen or as a print out. Examples of Embedded Meta-Data include, but are

          not limited to, spreadsheet formulas (which display as the result of the

          formula operation), hidden columns, externally or internally linked files (e.g.,

          sound files in Powerpoint presentations), references to external files and

          content (e.g., hyperlinks to HTML files or URLs), references and fields (e.g.,

          the field codes for an auto-numbered document), and certain database

          information if the data is part of a database (e.g., a date field in a database

          will display as a formatted date, but its actual value is typically a long

          integer). Subject to the other provisions of this Protocol related to the costs

          and benefits of preserving and producing Meta-Data (see generally Paragraph

           8), subject to potential redaction of Substantive Meta-Data, and subject to

          reducing the scope of production of Embedded Meta-Data, Embedded

          Meta-Data is generally discoverable and in appropriate cases, see

          Fed.R.Civ.P. 26(b)(2)(C), should be produced as a matter of course. If the

          parties determine to produce Embedded Meta-Data, either in connection with

          a Native File production or in connection with Static Image production in lieu

          of Native File production, the parties should normally discuss and agree on

          use of appropriate tools and methods to remove other Meta-Data, but

          preserve the Embedded Meta-Data, prior to such production.




                                    26


Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 26 of 27
                              Signed: May 14, 2007




                              27


Case 3:07-mc-00047-FDW Document 4 Filed 05/14/07 Page 27 of 27
